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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                         DECISION AND ORDER
                                                                      12-CR-301S
MISTY MIHALKO,

                            Defendant.




       1.     On November 25, 2013, the Defendant entered into a written plea agreement

(Docket No. 135) and pled guilty to Count 1 of the Indictment (Docket No. 1) charging a

violation of Title 18 U.S.C. § 371 (conspiracy to transport firearms purchased outside of

state of residency).

       2.     On November 25, 2013, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 137) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4. This Court has carefully reviewed de novo Judge Foschio’s November 25, 2013,

Report and Recommendation, the plea agreement, the Indictment, and the applicable law.

Upon due consideration, this Court finds no legal or factual error in Judge Foschio’s Report

and Recommendation, and will accept Judge Foschio’s recommendation that Defendant’s

plea of guilty be accepted and that the Defendant be adjudicated guilty as charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s November 25,

2013, Report and Recommendation (Docket No. 137)             in its entirety, including the

authorities cited and the reasons given therein.
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      FURTHER, that the plea of guilty of Defendant Misty Mihalko is accepted, and she

is now adjudged guilty of Title 18 U.S.C. § 371.

      SO ORDERED.


Dated: December 23, 2013
       Buffalo, New York


                                                      s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                          Chief Judge
                                                   United States District Court




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